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                                  UNITED STATES DISTRICT COURT

   12                        CENTRAL DISTRICT OF CALIFORNIA

   13                                  WESTERN DIVISION
        LOEC, INC., a Delaware corporation,         Case No. 2:14-cv-02596 RGK (FFMx)
   14
                     Plaintiff,                     Assigned to Hon. R. Gary Klausner
   15
             v.                                    [PROPOSED] ORDER GRANTING
   16                                              DISMISSAL OF ENTIRE ACTION
        ZIPPMARK, INC., a Delaware                 WITH PREJUDICE
   17 corporation; and ZIPPO
        MANUFACTURING COMPANY, a                   [RULE 41]
   18 Pennsylvania corporation,

   19                Defendants.                   Trial Date: May 12, 2015
                                                   Time:       9:00 a.m.
   20                                              Place:      Courtroom 850
        ZIPPMARK, INC., a Delaware                             Hon. R. Gary Klausner
   21 corporation; and ZIPPO
        MANUFACTURING COMPANY, a
   22 Pennsylvania corporation,

   23                Counterclaimants,
   24        v.
   25 LOEC, INC., a Delaware corporation,

   26                Counterdefendant.
   27 AND ALL RELATED ACTIONS

   28


                  [PROPOSED] ORDER GRANTING DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
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    1        Based on the Stipulation for Dismissal of the Entire Action with Prejudice by
    2 Plaintiff and CounterDefendants LOEC, Inc. and Lorillard Technologies, Inc., on the

    3 one hand, and Defendants and Counterclaimants ZippMark, Inc. and Zippo

    4 Manufacturing Company, on the other hand (collectively, the “Parties”), and pursuant

    5 to Federal Rule of Civil Procedure 41,

    6        IT IS HEREBY ORDERED that, pursuant to a confidential settlement
    7 agreement entered into by all the Parties, all claims and counterclaims alleged in this

    8 action are DISMISSED with prejudice, with each party bearing its own fees and

    9 costs. The Court retains jurisdiction solely for the purpose of enforcing the terms of

   10 the confidential settlement agreement.

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             IT IS SO ORDERED.

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        DATED: May 04, 2015                         _______________________________
                                                    Honorable R. Gary Klausner
   15                                               United States District Court Judge
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                [PROPOSED] ORDER GRANTING DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
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